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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division

                                           )
 KIRA (US) INC.,                           )
                                           )
             Plaintiff,                    )
                                           )
       v.                                  )                  Case No. 1:23-cv-00919
                                           )
 KENNAN SAMMAN and                         )
 DEEPJUDGE AG,                             )
                                           )
             Defendants.                   )
 _________________________________________ )


                     JOINT NOTICE OF SETTLEMENT IN PRINCIPLE

        The parties respectfully notify the Court that they have agreed in principle to settle the

 above-captioned matter. Counsel for the parties are in the process of preparing and finalizing the

 written settlement agreement. The parties intend to execute the agreement and to file a

 stipulation of dismissal as soon as practicable, and anticipate doing so within the next 30 days.
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         Dated: September 13, 2023

         Respectfully submitted,


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                                   CERTIFICATE OF SERVICE

         I hereby certify that on September 13, 2023, I electronically filed this motion with the Clerk

 of Court using the CM/ECF system, which will then send a notification of electronic filing (NEF)

 to all counsel of record in this action.




                                                       /s/ Joy C. Einstein, Esq.
                                                       Joy C. Einstein
